        Case 2:18-cv-09531-JLS-DFM Document 64 Filed 05/24/19 Page 1 of 1 Page ID #:436




                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

Thomas Few, Tina Matthews, Scott                                          CASE NUMBER
Wilford, Michael Martin and Georgia Bab
                                                        PLAINTIFF(S)                           CV No. 18-09531-JLS
                                  v.
United Teachers Los Angeles, et al.;
                                                                                          NOTICE OF CLERICAL ERROR
National Education Association of the
                                                       DEFENDANT(S)


You are hereby notified that due to a clerical error          documents associated with the filing of the new action
    the following scanned document             docket entry have/has been corrected as indicated below.
Title of scanned document: Transcript for Proceedings
Filed date:                 04-29-2019                 Document Number(s): 61
    Incorrect case number                                          was assigned to this         action      document
    Case number has been corrected. The correct case number is
    Incorrect judge's initials were indicated on this         action        document . The correct judge's initials are:
    Incorrect magistrate judge's initials were indicated on this                 action    document . The correct magistrate judge's
     initials are:                                 .
    Case has been reassigned from             Judge       Magistrate Judge                                                         to
         Judge       Magistrate Judge                                                . The initials of the new judge(s) are:
    Case was assigned to          Western         Southern      Eastern division. Pursuant to General Order 19-03, the case
     has been reassigned to the         Western         Southern         Eastern division. The former case number
                                          has been reassigned to new case number                                               .
    Case title is corrected from                                                          to
    Document has been re-numbered as document number
    Incorrect        Filed Date        Date of Document       Date ENTERED on CM/ECF was stamped on the document.
     The correct date is                                             .
    Document is missing page number(s):
    To ensure proper routing of documents, all documents filed with the court must reflect the following case number
    and judge's initials:
    Other:     Page 38, 11 "GMS" changed to "Janus." Corrected transcript will be uploaded.




                                                                           CLERK, U.S. DISTRICT COURT
          May 24, 2019                                                             Deborah D. Parker
Date:                                                                      By:
                                                                                 Deputy Clerk


G-11 (03/19)                                            NOTICE OF CLERICAL ERROR
